      Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 1 of 18 PageID #:1




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

J.E., a MINOR CHILD,                         )
by her Mother and next friend,               )
JUANITA EVANS,                               )
                                             )
                      Plaintiff,             )              No. 1:23-CV-02274
                                             )
                      v.                     )              JURY TRIAL DEMANDED.
                                             )
THE BOARD OF EDUCATION                       )
OF THE CITY OF CHICAGO,                      )
a Body of Politic,                           )
                                             )
                      Defendant.             )

                                         COMPLAINT

       NOW COMES the Plaintiff, J.E., a Minor, by her mother and next friend, JUANITA

EVANS, by and through her attorneys, GAINSBERG LAW, P.C., complaining of Defendant, THE

BOARD OF EDUCATION OF THE CITY OF CHICAGO, a Body Politic (“CHICAGO BOARD

OF EDUCATION”) and states as follows:

                                       INTRODUCTION

       1.      This case is about a disabled student, Minor Child J.E., whom underwent an Initial

Individual Education Program evaluation (IEP) for her developmental and functional needs due to

her developmental delay disability. Per the IEP, J.E. was to be to be provided general supervision

while on the playground and did not receive general supervision while she was playing on the

playground at Stagg Elementary School, and as a result fell on the playground and sustained a

fractured arm, because of the lack of enforcement of the IEP provided accommodations of J.E.,

when the Defendant, The City of Chicago Board of Education (CPS), individually and by and

through its agent and/or employee, the teacher of disabled student J.E. at Stagg Elementary School,
      Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 2 of 18 PageID #:2




chose to fail to administer the reasonable accommodations required by the IEP. Without the

enforcement of the IEP outlined accommodations for J.E.’s developmental delay disability, J.E.

cannot attend an assigned CPS public school that will provide the reasonable modifications of the

special education program, and cannot meaningfully benefit from the special education program

CPS has offered, including the IEP.

       2.      Plaintiff, Minor J.E. and the J.E.’s Mother and Next friend, Plaintiff, JUANITA

EVANS, seek compensatory damages, declaratory relief and injunctive relief ordering CPS to

adjust its administrative system so that the disabled student J.E. can resume her special education

program and receive the special education program and related services CPS is to provide under

the IEP. Specifically, the general supervision of J.E. while playing on the playground at Stagg

Elementary, per the IEP, which the Defendant agreed to provide as part of student’s special

education program.

                                 JURISDICTION AND VENUE

       3.      This is an action for declaratory and injunctive relief, brought pursuant to Title II

of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12131 et seq.

       4.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

for claims arising under the ADA. This Court has supplemental jurisdiction under 28 U.S.C

§1367(a) over claims arising under Illinois state law.

       5.      Jurisdiction under 28 U.S.C. § 1331, which gives district courts original jurisdiction

over all civil actions arising under the laws of the United States. Specifically, Plaintiff’s causes of

action seek to redress deprivations of their rights pursuant to the ADA.




                                                                                                     2
       Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 3 of 18 PageID #:3




        6.      This Court has jurisdiction over this action for declaratory relief pursuant to 28

U.S.C. § 2201 and Rule 57 of the Federal Rules of Civil Procedure. Injunctive relief is authorized

by 28 U.S.C. § 2202 and Rule 65 of the Federal Rules of Civil Procedure.

        7.      Therefore, this Court has jurisdiction over J.E.’s claims pursuant to 28 U.S.C. §

1331 (conferring jurisdiction over civil actions arising under laws of the United States) and 28

U.S.C. § 1343(a)(3) (conferring jurisdiction over civil actions to redress the deprivation, under

color of any state law of any right secured by any Act of Congress providing for equal rights of

citizens) since they arise under the Americans with Disabilities Act (ADA), 42 U.S.C. § 12101, et

seq.

        8.      Pursuant to 28 U.S.C. § 1391(b), venue is proper in this District. The Defendant is

located within this District and a substantial part of the events or omissions giving rise to the claims

alleged herein occurred in this District.

        9.      Therefore, this Court is the appropriate venue under 28 U.S.C. § 1391(b), in that

the Defendant is subject to personal jurisdiction in this District and the events giving rise to this

Complaint occurred in this District.

        10.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial part of the events

or omissions giving rise to Plaintiff’s claims occurred in the Northern District of Illinois and

Defendant, THE BOARD OF EDUCATION OF THE CITY OF CHICAGO, a body of Politic, is

located in the Northern District of Illinois.




                                                                                                      3
      Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 4 of 18 PageID #:4




                                                 PARTIES

       11.     Initials are used throughout this Complaint to preserve the confidentiality of the

minor child Plaintiff in conformity with the Family Educational Rights and Privacy Act, 20 U.S.C.

§ 1232g.

       12.     Minor Child. J.E., is a five-year-old student with a developmental delay disability.

       13.     Minor Child, J.E. resides in Chicago, in the Northern District of Illinois.

       14.     Plaintiff, JUANITA EVANS (“Ms. Evans”) is the mother and parent of Minor

J.E., a child with a disability who resides in Chicago.

       15.     Plaintiff, JUANITA EVANS child, J.E., is a student of CPS who qualifies for a

CPS special education program, including an Individualized Education Plan (“IEP”) in connection

with her developmental delay disability.

       16.     J.E. is a five-year-old student who has developmental delay disabilities.

       17.     Defendant, THE BOARD OF EDUCATION OF CITY OF CHICAGO is the legal

entity for Chicago Public School District 299 (referred to throughout as “CPS”), which is a school

district located in the Northern District of Illinois organized pursuant to the Illinois School Code.

       18.     Defendant, THE BOARD OF EDUCATION OF CITY OF CHICAGO, subject

premises, Stagg Elementary School, is a “public entity” within the meaning of Title II of the ADA,

as that term is defined under 42 U.S.C. § 12131(1).

       19.     Defendant CHICAGO BOARD OF EDUCATION, also known as Chicago Public

Schools (“CPS”), is constituted within Illinois for administrative control and direction of public

elementary schools in the City of Chicago, which is located in the Northern District of Illinois.

CPS is a “public entity” as defined by Title II of the ADA. 42 U.S.C. § 12131(1).


                                                                                                    4
      Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 5 of 18 PageID #:5




                                    LEGAL FRAMEWORK

         20.   The IEP must set forth all special education and related services the school district

will provide as well as the student’s educational goals. 34 C.F.R. § 300.320(a)(4).

         21.   Under the federal law, a school district must locate, identify, and evaluate all

children with disabilities. 20 U.S.C. § 1412(a)(3).

         22.   Once a school district has evaluated a child with disabilities and found her eligible,

the district must provide an Individualized Education Program (“IEP”) that meets the student’s

unique educational needs. 20 U.S.C. § 1400(d).

         23.   The creation, revision, and implementation of an Individualized Education Program

('IEP’) for a student in a special education program is a highly individualized process that is

entirely dependent upon the specific needs of the student and her unique academic and social

needs.

         24.   Once the services to be provided under the IEP have been determined, the IEP team

must decide where the special education program will be provided.

                                     FACTUAL ALLEGATIONS

         25.   Following the completion of a CPS Initial Individual Education Program (IEP)

evaluation to adequality address her educational, developmental, and functional needs due to her

developmental delay disability J.E. transitioned from Early Intervention services when she was

three years old.

         26.   In August 2021, J.E. began attending half-days at the Building Blocks Learning

Academy, which referred J.E. to the CPS special education program. See Exhibit A at IEP_00023.




                                                                                                   5
      Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 6 of 18 PageID #:6




        27.     The Building Blocks Learning Academy is located 1120 West 69th Street, in the

City of Chicago, County of Cook, and State of Illinois.

        28.     On November 12, 2021, J.E. was evaluated for a Head Start screening by Building

Blocks Day Care, a therapeutic day school, and exhibited concerns with cognitive/academic skills,

communication, motor skills and social emotional functioning. Based upon J.E.’s Head Start

screening she was referred for a full evaluation for an Individual Education Program (IEP). See

Exhibit A at IEP_00017.

        29.     On March 21, 2022, J.E. was evaluated for a CPS Initial Individual Education

Program (IEP), attached hereto as Exhibit A.

        30.     During J.E.’s IEP initial IEP evaluation she exhibited weak vocabulary skills, her

speech was not always clear, and she had difficulty with fine motor skills and grasping. See Exhibit

A at IEP_00002.

        31.     Based on J.E.’s academic, developmental, and functional needs due to her

developmental delay disability, J.E.’s IEP evaluation determined she required one on one support

on a daily basis. Id.

        32.     J.E.’s IEP developmental and functional needs portion of the evaluation indicated

J.E. was able to access the school environment and “able to play on a playground given general

supervision.” See Exhibit A at IEP_00003.

        33.     J.E.’s IEP evaluation determined her developmental delay disability would be most

appropriately addressed by modifications or accommodations for specialized instruction relating

to independent functioning and educational areas.




                                                                                                  6
      Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 7 of 18 PageID #:7




       34.     J.E.’s IEP evaluation further determined a general education with special education

support over 60% of the school day outside of the general education setting in a general education

school was the most appropriate placement for J.E. and assigned the CPS school Stagg Elementary.

See Exhibit A at IEP_00027— IEP_00029.

       35.     J.E.’s IEP evaluation determined J.E.’s level of academic achievement and

functional performance necessitated special education services to address J.E.’s developmental

and functional needs based on her developmental delay disability. See Exhibit A at IEP_00003.

       36.     The IEP program was to be implemented from March 21, 2022, to March 21, 2023.

See Exhibit A at IEP_00001.

       37.     During this time, Defendant, was to assign J.E. to a CPS public school that would

enforce the reasonable modifications and accommodations as specified in J.E.’s IEP, in order to

effectively provide the benefits of the CPS special education program to J.E.

       38.     That on April 28, 2022, and at all times relevant herein, Stagg Elementary School

located at 7424 South Morgan Street, City of Chicago, County of Cook and State of Illinois.

(“Stagg Elementary School”) constitutes a CPS public school that provides a special education

program.

       39.     On April 28, 2022, J.E. was four years old and began attending the CPS assigned

public school, Stagg Elementary School and participating in a CPS special education program

during half of the days of the school week, pursuant to the IEP.

       40.     That on April 28, 2022, and at all times relevant herein, Stagg Elementary School

was required to enforce the modifications outlined in the IEP when J.E. was attending the special




                                                                                                7
      Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 8 of 18 PageID #:8




education program, in order to adequately accommodate J.E.’s unique academic and functional

needs based for her developmental delay disability.

        41.     On May 31, 2022, minor J.E. was playing unsupervised on the playground at

Defendant’s subject premises, Stagg Elementary School, when she attempted to step onto the

playground set that had a step that was too high for her to reach, and fell, resulting in J.E. sustaining

a fracture in her right arm, despite the accommodations in her Individual Education Program (IEP,

specifying J.E. was to be provided general supervision while playing on the playground. See

Complaint, ¶32.

        42.     On May 31, 2022, following the fall on the playground of J.E. on the playground

unsupervised, Mrs. Evans was contacted by Defendant’s employee and/or agent, the special

education teacher of J.E. while attending Stagg Elementary School, “Miss. A,” via text message

at 2:24 p.m., “Mrs. A” informed Mrs. Evans that J.E. needed to be picked up because J.E. had been

crying for “about 20 min” after J.E. had “went outside to play on the playground and she couldn’t

get on one of the playground sets because it was too high, and she was upset and hasn’t stopped

crying since.” See Exhibit B.

        43.     According to the Centers for Disease Control and Prevention, each year in the

United States emergency departments treat more than 200,000 children ages 14 and younger for

playground-related injuries. At all relevant times herein, Defendant was well aware that students

are regularly injured on playgrounds.

        44.     The playground at issue was inherently dangerous with large concrete steps,

climbing devices, and uneven surfaces which pose a safety danger to young children, especially

disabled children.


                                                                                                       8
      Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 9 of 18 PageID #:9




       45.        On May 31, 2022, “Mrs. A” further informed Mrs. Evans via text message at there

was 6 teachers outside at the time and none of them saw anything happen to J.E. See Exhibit C.

       46.        When Mrs. Evans informed “Mrs. A” that J.E. had been constantly crying since

picking her up from Stagg Elementary School and waking up from her nap crying. See Exhibit C

and Exhibit D.

       47.        On May 31, 2022, “Mrs. A” informed Mrs. Evans that she was not sure and didn’t

think that J.E. got hurt and that “there was 6 teachers outside and none of us saw anything happen

to her.” See Exhibit D, Exhibit E. When Mrs. Evans expressed further concern to “Mrs. A”

regarding J.E.’s arm, “Mrs. A” asked Mrs. Evans if J.E. was able to move her arm and informed

Mrs. Evans that neither “Mrs. A” nor the 6 other teachers outside while J.E. was on the playground

had seen J.E. fall. See Exhibit E.

       48.        J.E. did not return to CPS assigned public school, Stagg Elementary School,

following the alleged incident on May 31, 2022.


                                          LEGAL CLAIMS

                                     COUNT I
                  VIOLATION OF AMERICANS WITH DISABILITIES ACT
                                42 U.S.C. § 12101, et. seq.

       49.        Plaintiff, J.E., a Minor, by her mother and next friend, JUANITA EVANS re-allege

and incorporate herein all each and every allegation in the foregoing paragraphs as if specifically

alleged herein.

       50.        The ADA contains four substantive titles that address discrimination in the areas of

employment, public services, public accommodations, and telecommunications. 42 U.S.C. §



                                                                                                    9
     Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 10 of 18 PageID #:10




12101 et seq. Plaintiff, J.E., a Minor, by her mother and next friend, JUANITA EVANS, brings

this complaint under Title II of the ADA which governs public services and protects disabled

individuals from being denied the benefits of the services provided by a public entity based on the

individual’s specific disability’s needs, specifically, the enforcement of the IEP.

        51.     The law governing Title II of the ADA is found at 42 U.S.C. §12131 et seq. and the

implementing regulations are codified at 28 C.F.R. §35.101 et seq.



        52.     Title II of the ADA states, in pertinent part:


                “[N]o qualified individual with a disability shall, by reason of such disability, be
                excluded from participation in or be denied the benefits of the services, programs,
                or activities of a public entity, or subjected to discrimination by any such entity.”

    42 U.S.C §12132.

        53.     Title II of the Americans with Disabilities Act, 42 U.S.C. § 12132, prohibits a

public entity from excluding a person with a disability from participating in, or otherwise

benefitting from, a program of the public entity, or otherwise discriminating against a person on

the basis of disability. Id.

        54.     The term “disability” includes physical and mental impairments that substantially

limit one or more major life activities. 42 U.S.C. § 12102(2). Further, a “ ‘qualified individual with

a disability’ means an individual with a disability who, with or without reasonable modifications

to rules, policies, or practices, the removal of architectural, communication, or transportation

barriers, or the provision of auxiliary aids and services, meets the essential eligibility requirements

for the receipt of services or the participation in programs or activities provided by a public entity.”

42 U.S.C. § 12131(2).

                                                                                                     10
    Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 11 of 18 PageID #:11




       55.     J.E. is at all times relevant to this action, a “qualified individual with a disability”

within the meaning of Title II of the ADA. J.E. is an individual with a developmental delay

disability, and was placed in a non-public school special education program at Stagg Elementary

School, by Defendant, and thus, qualified—with or without reasonable modification—to

participate in the programs, services, and activities of Defendant.

       56.     A “public entity” is defined to include “any department, agency, special purpose

district, or other instrumentality of a State or States or local government.” 42 U.S.C. § 12131(1).

       57.     Defendant, at all times relevant to this action, is a “public entity” within the

meaning of Title II of the ADA, as that term is defined under 42 U.S.C. § 12131(1) and 28 C.F.R.

§ 35.104.

       58.     Pursuant to the ADA, CPS cannot deny a person with disability “the benefits of

[its] services, programs, or activities.” 42 U.S.C. § 12132.

       59.     Defendant’s CPS assigned public school special education program at Stagg

Elementary School, including the enforcement of the IEP for a disabled student, constitutes

“services, programs or activities” within the meaning of Title II of the ADA. 42 U.S.C. § 12132.

       60.     Defendant placed J.E.—because of her developmental delay disability—in the CPS

public school, Stagg Elementary School, after determining that such placement was necessary to

provide her an adequate special education program.

       61.     The ADA requires CPS to “administer services, programs, and activities in the most

integrated setting appropriate to the needs of qualified individuals with disabilities.” 28 C.F.R. §

35.130(d).




                                                                                                    11
    Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 12 of 18 PageID #:12




       62.      Due to Defendant’s status as a “public entity,” Defendant is prohibited from

denying J.E. the benefits of the special education program that is necessitated by J.E. for her

developmental delay disability at the CPS assigned public school special education program at

Stagg Elementary School.

       63.      Specifically, CPS cannot deny Minor Child J.E.’s of her rights under Title II of the

ADA and its regulations, including J.E.’s IEP accommodations by failing to provide the general

supervision required by IEP services for J.E.’s developmental/functional needs, per the Individual

Education Program’s (IEP), specifically requiring J.E. to be under general supervision when she

is on the playground at Stagg Elementary School. See Exhibit A at IEP_00003.

       64.      Plaintiff, Juanita Evans is an aggrieved person within the meaning of the ADA.

       65.      Defendant violated J.E.’s rights under Title II of the ADA and its implementing

regulations by denying her of the benefits of Defendant’s special education program, by failing to

enforce the accommodations contained in the IEP. Specifically, Defendant failed to provide

general supervision of J.E. while she was on the playground, which resulted in J.E. falling on the

playground and sustaining a right arm fracture.

       66.      Defendant violated J.E.’s rights under Title II of the ADA and its regulations by

failing to provide services necessary to ensure Defendant’s agents and/or employees, the special

education program teacher of J.E. at Stagg Elementary School, was acting in compliance with the

IEP, specifically, the IEP section addressing developmental/functional needs due to her disability,

required J.E. to be provided general supervision while J.E. was on the playground. See Exhibit A

at IEP_00003.




                                                                                                 12
    Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 13 of 18 PageID #:13




       67.       Defendant exhibited bad faith and/or gross misjudgment in engaging in the conduct

that violated J.E.’s rights under Title II of the ADA.

       68.       Defendant acted with deliberate indifference toward J.E.’s rights protected by Title

II of the ADA.

       69.       Defendant is denying J.E. and Plaintiff Juanita Evans of the benefits of the CPS

non-public school special education program, specifically, the enforcement of J.E.’s IEP, by

refusing to modify the administrative process to enforce the accommodations contained in the IEP

for a special education program in such a manner that would allow J.E. to receive the general

supervision at the school placement directed by her IEP.

       70.       Defendant’s acts and omissions, individually, and by and through its agents and/or

employees, constitutes a violation of J.E.’s and Juanita Evans rights under the ADA. Defendant’s

conduct constitutes an ongoing and continuous violation of the ADA, and unless restrained and

enjoined from doing so, Defendant’s will continue to violate the ADA by failing to enforce the

IEP required services to J.E. while attending the CPS special education program. Defendant’s acts

and omissions, unless enjoined, will continue to inflict irreparable injuries for which the Plaintiffs

have no adequate remedy at law.

       71.       Due to Defendant, THE BOARD OF EDUCATION OF THE CITY OF

CHICAGO, individually and by and through its’ agents and/or employees, violation of Title II of

the ADA, J.E. sustained a fracture in her right arm, specifically, a shaft fracture to her right ulna,

has suffered and continues to suffer mental and emotional anguish, and Plaintiff, Juanita Evans,

was caused to incur and pay medical and hospital expenses.




                                                                                                   13
    Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 14 of 18 PageID #:14




                                       COUNT II
                                  DECLARATORY RELIEF

       72.      Plaintiff, J.E., a Minor, by her mother and next friend, JUANITA EVANS, re-

alleges and incorporates herein all previously alleged paragraphs in this Complaint.

       73.     Defendant has failed and is failing to comply with applicable laws prohibiting the

denial of benefits provided by Individualized Educational Programs by CPS children with

disabilities in violation of the ADA, 42 U.S.C. § 12101 et seq.

       74.     Defendant THE BOARD OF EDUCATION OF THE CITY OF CHICAGO, denies

that they have failed to comply with the IEP, specifically, the Access to School Environment

portion of the evaluation which requires J.E. to be under general supervision while playing on the

playground. See Exhibit A, at IEP_00003.

       75.     A judicial declaration is necessary and appropriate at this time in order that each of

the parties may know their respective rights and duties and act accordingly.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, Plaintiff, J.E., a Minor, by her mother and next friend,

JUANITA EVANS, respectfully requests that this Court:

             a. Enter a preliminary and permanent injunction requiring Defendant, THE BOARD
                OF EDUCATION OF THE CITY OF CHICAGO to stop denying students with
                disabilities placed in non-public schools the enforcement of the IEP of J.E. in
                accordance with the ADA, 42 U.S.C. § 12131;

             b. Issue a judgment requiring Defendant, THE BOARD OF EDUCATION OF THE
                CITY OF CHICAGO to compensate Plaintiffs, JUANITA EVANS due to J.E.
                attending a CPS assigned public school and failed to receive the general
                supervision while attending the special education program and failed to enforce
                the guidelines of J.E.’s IEP for the 2022-2023 school year;




                                                                                                  14
    Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 15 of 18 PageID #:15




             c. Retain jurisdiction over this case until Defendant, THE BOARD OF
                EDUCATION FO THE CITY OF CHICAGO has complied with the orders of
                this Court and there is a reasonable assurance that Defendant, THE CHICAGO
                BOARD OF EDUCATION OF THE CITY OF CHICAGO will continue to
                comply in the future, absent continuing jurisdiction;

             d. Award attorneys’ fees and costs, as provided by statute and law;

             e. Compensatory damages associated with pursuing litigation in seeking the
                enforcement of the IEP guidelines of Plaintiff Minor J.E. to be enforced by its’
                terms by Defendant, THE BOARD OF EDUCATION OF THE CITY OF
                CHICAGO; and

             f. Grant any such other relief as the Court finds just and proper.

                                 COUNT III
             COMMON LAW CLAIM FOR WILLFUL/WANTON CONDUCT
                          Illinois State Law Claim

       76.      That on May 31, 2022, and for some time prior and subsequent thereto, the

Defendant, THE BOARD OF EDUCATION OF THE CITY OF CHICAGO, individually and

through its agents, herein owned, leased, operated, managed, maintained and controlled and/or

otherwise contracted to own, lease, operate, manage, maintain and control the CPS “therapeutic

day program” at the subject premises, Stagg Elementary Community Academy, located at 7424

South Morgan Street, City of Chicago, County of Cook and State of Illinois, together with the

passages, areaways, and appurtenances thereof and threat.

       77.      That on said date of May 31, 2022, J.E. was legally and lawfully in and upon the

Defendant, THE BOARD OF EDUCATION OF THE CITY OF CHICAGO premises, the Stagg

Elementary School participating in a mentor “therapeutic day school” per the IEP outlining J.E.’s

academic, developmental, and functional educational needs based on her developmental delay

disability. See Exhibit A.



                                                                                              15
    Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 16 of 18 PageID #:16




       78.     That at all times relevant herein, agent and/or employee of Defendant, THE

BOARD OF EDUCATION OF THE CITY OF CHICAGO was acting within the scope of her

employment and/or agency with Defendant as a teacher in the “therapeutic day school” program

for pre-K students at Stagg Elementary School located at 7424 South Morgan Street, City of

Chicago, County of Cook and State of Illinois.

       79.     That on said date of May 31, 2022, the Defendant’s agent and/or employee, teacher

of disabled student J.E. at Stagg Elementary School, while J.E. was on playing on the playground

was required to comply with the IEP (Exhibit A) provided modifications or accommodations for

specialized instruction relating to independent functioning and educational areas developmental,

and functional needs developmental delay disability necessitated by J.E., specifically, to provide

J.E. general supervision while on the playground, while she attended Stagg Elementary School

located at 7424 South Morgan Street, City of Chicago, County of Cook, and State of Illinois. See

Exhibit A.

       80.      That on said date of May 31, 2022, the Defendant’s agent and/or employee,

instructor of J.E acted in her capacity as an employee and/or agent of THE BOARD OF

EDUCATION OF THE CITY OF CHICAGO, when J.E. was playing unsupervised on the

playground at Stagg Elementary School, when J.E. attempted to step onto the playground set that

had a step that was too high for her to reach, and fell, resulting in J.E. sustaining a fractured arm

despite significant accommodations in J.E.’s Individual Education Program (IEP) specifying J.E.

was to be provided general supervision while playing on the playground

       81.     At all times relevant hereto, Defendant, THE BOARD OF EDUCATION OF THE

CITY OF CHICAGO owed a duty to refrain from willful and wanton conduct so as not to create


                                                                                                  16
    Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 17 of 18 PageID #:17




a risk of harm to students or endanger the safety of students in the vicinity of Stagg Elementary

School, specifically, J.E, a student with a developmental delay disability.

       82.     That in violation of said duty, the Defendant, THE BOARD OF EDUCATION OF

THE CITY OF CHICAGO by and through its agents, servants and/or employees in its behalf,

committed one or more of the following willful and wanton acts or omissions:

             a. Willfully and wantonly allowed its employee and/or agent to fail to enforce
                significant accommodations for the developmental delay disability of J.E., as
                contained in J.E.’s Individual Education Program (IEP), when the teacher of
                J.E. at Stagg Elementary School failed to provide general supervision of J.E.
                while J.E. was on the playground and fell;

             b. Willfully and wantonly allowed a developmentally disabled 5 year old student
                whom cannot verbally communicate to be unsupervised on a playground that
                contained inherently dangerous safety and fall risks for minor children, when
                defendant knew that children regularly fall and are injured on playgrounds;

             c. Willfully and wantonly allowed its employee and/or agent to engage in
                improper conduct, specifically, the failure to provide general supervision of
                J.E. while J.E. was on the playground at Stagg Elementary, in violation of
                J.E.’s IEP, which constitutes an unsafe, intentional and/or reckless activity;

             d. Willfully and wantonly failed to provide a special education program student,
                J.E., a safe learning space free from harm resulting from unsafe, intentional
                and/or reckless activity, so as not to bring harm or injury to a disabled student
                with IEP guidelines in place requiring J.E. to be under general supervision
                while on the playground; and

             e. Willfully and wantonly failed to train, instruct, or requires its agents and/or
                employees as to the proper means and conduct, in their capacity as the teacher
                of J.E. at Stagg Elementary School, in the course of performance of
                employment related activities with Defendant, such as providing the services
                required by the IEP of a disabled student at Stagg Elementary School,
                specifically, J.E.

       83.     That as a direct and proximate result of this willful and wanton conduct on the part

of the Defendant, THE BOARD OF EDUCATION OF THE CITY OF CHICAGO, individually



                                                                                                    17
    Case: 1:23-cv-02274 Document #: 1 Filed: 04/11/23 Page 18 of 18 PageID #:18




and by and through its agents, servants and/or employees in its behalf, caused Plaintiff, Minor

Child J.E. to sustain personal injuries, Plaintiff, JUANITA EVANS as Mother of J.E. to incur and

pay medical and hospital expenses relating to the medical care of the right arm fracture sustained

by J.E., (See Exhibit G, Exhibit H) and to be absent from her usual pursuits for a period of time.

       84.     That JUANITA EVANS, parent of J.E. a minor, does hereby assign, transfer and

relinquish to said minor Plaintiff, J.E. all rights to recover any monies expended and incurred and

to be expended and incurred for services and treatment that has been and may be required by the

minor Plaintiff.

       WHEREFORE, the Plaintiff, J.E., a Minor, by her mother and next friend, JUANITA

EVANS, demand judgment against Defendant, THE BOARD OF EDUCATION OF THE CITY

OF CHICAGO, a Body Politic, in an amount in excess of $75,000.00 dollars plus court costs,

attorney’s fees, and for whatever other relief this court deems just and appropriate.



                                                              Respectfully submitted,

                                                              GAINSBERG LAW, P.C.


                                                        By:    /s/ Samantha Gutierrez
                                                               Samantha Gutierrez
                                                               Attorney for Plaintiff


Samantha Gutierrez
GAINSBERG LAW, P.C.
22 W. Washington Street, 15th Floor
Chicago, Illinois 60602
P: (312) 600-9585
F: (312) 757-4545
samantha@gainsberglaw.com
ARDC No. 6331363

                                                                                                 18
